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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

                                                        :
    IN RE AUTOMOTIVE PARTS ANTITRUST                    :   Master File No. 12-md-02311
    LITIGATION                                          :   Honorable Marianne O. Battani
                                                        :   Master Gene J. Esshaki
                                                        :
                                                        :
    ALL PARTS EXCEPT                                    :   Case No. 2:12-cv-00200-MOB-MKM –
    IN RE WIRE HARNESS SYSTEMS                          :   Case No. 2:14-cv-03000-MOB-MKM
                                                        :   All Cases to be Filed
                                                        :
    THIS DOCUMENT RELATES TO:                           :
    ALL CASES                                           :
                                                        :
                                                        :

                     PLAINTIFFS’ NOTICE OF MOTION AND MOTION
                     FOR UNIFORM DEPOSITION PROTOCOL ORDER

   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

          PLEASE TAKE NOTICE that, as soon as this motion may be heard before the

   Special Master, End-Payor and Direct Purchaser Plaintiffs (“Plaintiffs”) will and do hereby

   respectfully move the Special Master to adopt a uniform deposition protocol order that would

   govern all parties and all cases included in the In re Automotive Parts Antitrust Litigation, Master

   File No. 2:12-md-02311 (“Uniform Deposition Protocol Order”). The proposed Uniform

   Deposition Protocol Order would not supersede the Wire Harness Deposition Protocol Order

   (Case No. 2:12-cv-00100, ECF No. 315) or the Auto Dealer and End-Payor Plaintiff

   Deposition Protocol Order (Master File No. 2:12-md-02311, ECF No. 1021).

          The proposed Uniform Deposition Protocol Order would help facilitate the “just and

   efficient conduct” of this litigation pursuant 28 U.S.C. § 1407 and further “the just, speedy, and

   inexpensive determination of these actions in keeping with” Federal Rule of Civil Procedure 1.



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          This motion is based on this Notice of Motion and Motion, the Memorandum of Points and

   Authorities in support thereof, all of the pleadings and filings in these actions, and such other

   argument as may be presented to the Court.

          Per E.D. Mich. Local Rule 7.1(a), counsel for Plaintiffs ascertained that counsel for

   Defendants will oppose this motion based on their statements at the May 6, 2015 in-person

   conference and on the May 26, 2015 telephonic conference before the Special Master. During

   these conferences, there were discussions between the parties before the Special Master in which

   Plaintiffs explained the nature of and need for a uniform deposition protocol and did not obtain

   concurrence in the relief sought from Defendants.



   Date: July 7, 2015                           Respectfully submitted,

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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

                                        :
   IN RE AUTOMOTIVE PARTS               :   Master File No. 12-md-02311
   ANTITRUST LITIGATION                 :   Honorable Marianne O. Battani
                                        :   Master Gene J. Esshaki
                                        :
                                        :
   ALL PARTS EXCEPT                     :
   IN RE WIRE HARNESS SYSTEMS           :
                                        :
                                        :
   THIS DOCUMENT RELATES TO:            :   Case No. 2:12-cv-00200-MOB-MKM –
   ALL CASES                            :   Case No. 2:14-cv-03000-MOB-MKM
                                        :   All Cases to be Filed
                                        :

                 MEMORANDUM OF POINTS AND AUTHORITIES




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                          STATEMENT OF THE ISSUE PRESENTED

          Whether the Special Master should enter a Uniform Deposition Protocol Order1 that

   would govern all parties and all cases included in the In re Automotive Parts Antitrust Litigation,

   Master File No. 2:12-md-02311, except In re Wire Harness Systems, Case No. 2:12-cv-00100.




   1
    Attached as Exhibit A is a clean version of the [Proposed] Uniform Deposition Protocol
   Order and Exhibit B is a blacklined version of [Proposed] Uniform Deposition Protocol Order
   comparing it with the Wire Harness Deposition Protocol Order (Case No. 2:12-cv-00100, ECF
   No. 315).
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           MOST APPROPRIATE AUTHORITIES FOR THE RELIEF SOUGHT

   28 U.S.C. § 1407

   Fed. R. Civ. P. 1




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   I.     INTRODUCTION

          In this exceptionally complex antitrust litigation, a single deposition protocol order

   governing all parties and all cases is needed to avoid unnecessary expense and delay and would

   help facilitate the “just and efficient conduct” of these cases in keeping with 28 U.S.C. § 1407

   and further “the just, speedy, and inexpensive determination” of these actions consistent with

   Federal Rule of Civil Procedure (“Rule”) 1. The Uniform Deposition Protocol Order2 would not

   supersede the Wire Harness Deposition Protocol Order (Case No. 2:12-cv-00100, ECF No.

   315) or the Auto Dealer and End-Payor Plaintiff Deposition Protocol Order (Master File No.

   2:12-md-02311, ECF No. 1021).

   II.    ARGUMENT

          1.      A Uniform Deposition Protocol Order would be appropriate for all cases.

          The Judicial Panel of Multidistrict Litigation transferred In re Wire Harness, In re

   Instrument Panel Clusters, In re Fuel Senders, and In re Heater Control Panels to the Eastern

   District of Michigan for consolidated and coordinated proceedings under the caption In re

   Automotive Parts Antitrust Litigation, M.D.L. No. 2311, and assigned them to the Hon. Marianne

   O. Battani for the “convenience of parties and witnesses and [to] promote the just and efficient

   conduct of such actions.” 28 U.S.C. § 1407(a). Subsequently filed complaints alleging bid-rigging

   and price-fixing of other automotive parts were deemed to be companion cases with the original

   action, have been made a part of the In re Automotive Parts Antitrust Litigation, and are all pending

   before Judge Battani. The cases in this litigation have been coordinated and consolidated for




   2
    Attached as Exhibit A is a clean version of the [Proposed] Uniform Deposition Protocol
   Order and Exhibit B is a blacklined version of [Proposed] Uniform Deposition Protocol Order
   comparing it with the Wire Harness Deposition Protocol Order (Case No. 2:12-cv-00100, ECF
   No. 315).
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   pretrial proceedings for good reason: A Uniform Deposition Protocol Order for the 29 cases

   following In re Wire Harnesses—as opposed to an individually negotiated and separately entered

   deposition protocol order for each of them—would further the “just and efficient conduct” of all

   other cases in this litigation under 28 U.S.C. § 1407. It would be extremely wasteful to conduct

   separate negotiations in each of the next 29 cases to propose different deposition protocol orders.

   Instead, the proposed Uniform Deposition Protocol Order should be entered in all cases and should

   be applied unless any party can show good cause why the terms of that order should not apply to

   that party.

           Rule 1 governs the procedure in all civil actions in the United States District Courts and

   provides that the Rules “should be construed and administered to secure the just, speedy, and

   inexpensive determination of every action and proceeding.” Fed. R. Civ. P. 1. A Uniform

   Deposition Protocol Order would plainly be consistent with the mandate of Rule 1. All cases in In

   re Automotive Parts Antitrust Litigation share factual issues arising from allegations of

   conspiracies to inflate, fix, raise, maintain, or artificially stabilize the prices of certain automotive

   parts. These allegations stem from the same law enforcement agency investigation into bid-

   rigging, price-fixing, and other anti-competitive conduct in the automotive parts industry. Given

   that the Special Master has entered the Wire Harness Deposition Protocol Order, a Uniform

   Deposition Protocol Order based on that protocol would be appropriate for all cases because they

   allege similar conspiratorial conduct involving overlapping defendants and stemming from the

   same government investigation. Further, the parties and counsel already overlap to a large extent.

   The proposed Uniform Deposition Protocol Order would be the most appropriate approach in

   light of the significant overlap in factual issues, parties, and claims. Entering separate deposition




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   protocol orders for each case would create delay and inefficiencies, duplicative discovery, and

   improper unnecessary burden on the Court, the Special Master, and the parties.

          Coordinated document discovery has been set in motion, and there is no better way to

   coordinate depositions than through a Uniform Deposition Protocol Order for all cases. The

   Court ordered Defendants in In re Automotive Parts Antitrust Litigation (except In re Air

   Conditioning Systems and In re Constant Joint Velocity Boots) earlier this year to produce

   documents to Plaintiffs that they had previously produced to the United States Department of

   Justice. End-Payor Plaintiffs have produced all of their documents and written discovery responses

   to all parties in all cases. Direct Purchaser, Auto Dealer, and End-Payor Plaintiffs have been

   collaborating on global stipulations governing electronically stored information, experts, and

   preservation. Furthermore, Direct Purchaser, Auto Dealer, and End-Payor Plaintiffs may now be

   deposed in all cases, and basic fairness mandates that an order be entered permitting Plaintiffs to

   take depositions of defendants in all cases in which depositions may proceed.

          Negotiating the Wire Harness Deposition Protocol and the Auto Dealer and End-Payor

   Plaintiff Deposition Protocol Orders required considerable time and resources on all sides—

   reinforcing the conclusion that a Uniform Deposition Protocol Order is critical. The failure to

   coordinate depositions in other cases will cause the parties to incur needless burden, duplication

   of effort, and delay. Manual on Complex Litigation (Fourth), § 11.455 (“[i]n related cases pending

   before the same judge, it is best to coordinate discovery plans to avoid conflicts and duplication”).

          A Uniform Deposition Protocol Order is consistent with both the Court’s admonitions

   that the parties agree upon template orders wherever appropriate and the very purpose of relating

   actions—to ensure that they are coordinated, consolidated, and efficiently managed to “avoid

   duplication of discovery, to prevent inconsistent pretrial rulings, and to conserve the resources of



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   the parties, their counsel and the judiciary.” Overview of Panel, The Official Website for the United

   States    Judicial   Panel   on   Multidistrict   Litigation,   http://www.jpml.uscourts.gov/panel-

   info/overview-panel. See also In re Automotive Wire Harness Sys. Antitrust Litig., 844 F. Supp.

   2d 1367, 1367 (J.P.M.L. 2012).

            2.     The Uniform Deposition Protocol Order would be substantially similar to the
                   Wire Harness Deposition Protocol Order.

            Plaintiffs and the Wire Harness Defendants met and conferred about the Wire Harness

   Deposition Protocol Order for over a year. The parties carefully drafted a deposition protocol order

   to which six plaintiff groups and more than 10 defendant families stipulated. The parties

   exhaustively discussed the gamut of issues, from number and length of depositions, to noticing

   and scheduling depositions, to objections, exhibits, and interpreters. The Wire Harness Deposition

   Protocol Order is 20 pages in length and the result of extensive negotiations and seriatim

   compromises. There is no justification for Defendants in other cases to reinvent the deposition

   protocol wheel 29 more times.

            The Judicial Panel on Multidistrict Litigation coordinated and consolidated Wire

   Harnesses and other cases in In re Automotive Parts Antitrust Litigation for pretrial proceedings

   because they all involve automotive parts suppliers colluding over automotive parts sold to vehicle

   manufacturers and suppliers in the United States. As such, the Uniform Deposition Protocol

   Order should be based on the Wire Harness Deposition Protocol Order to ensure “the just, speedy,

   and inexpensive determination” and “the just and efficient conduct” of all cases in this litigation

   pursuant to Rule 1 and 28 U.S.C. § 1407(a). The Special Master should enter a Uniform

   Deposition Protocol Order because such a protocol would contain many of the same provisions

   as the Wire Harness Deposition Protocol Order.




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          3.      Any Defendant subject to the Uniform Deposition Protocol Order would have
                  the opportunity to object to specific provisions therein.

          Any concerns that a Uniform Deposition Protocol Order would somehow unfairly deny the

   Defendants in 29 cases of the opportunity to separately negotiate a deposition protocol order from

   scratch would be unwarranted. Defendants in these cases will have the opportunity to object to

   specific provisions in the Uniform Deposition Protocol Order for good cause pursuant to the

   Court’s August 28, 2014 Order appointing the Special Master (Master File No. 2:12-md-2311,

   ECF No. 792), without having to duplicate a deposition protocol that has been already

   approved by the Special Master. Further, as to the number of depositions, the Uniform

   Deposition Protocol Order would contain the same reservation of rights provision as the Wire

   Harness Deposition Protocol, thereby allowing each party “to object to any particular

   deposition or to object on the ground that the number of depositions for that particular party

   should be fewer than the number specified above.” See Wire Harness Deposition Protocol,

   Section III.A.7.

          Plaintiffs’ motion is not designed to limit the ability of Defendants in other cases to file

   objections or make proposals to the Special Master.

          4.      A Uniform Deposition Protocol Order for all cases would be more efficient
                  than a separate deposition protocol order for each case.

          A Wire Harness Deposition Protocol Order and a Uniform Deposition Protocol Order for

   the other 29 cases would be more efficient and practical than 30 separate deposition protocol

   orders. Many Defendants are named co-conspirators in multiple cases. The proposed Order will

   make possible case management efficiency. For example, Denso colluded on pricing in multiple

   parts involved in multiple cases. The parties should be able to conduct depositions of Denso

   employees in a deposition usable in all of those cases. The parties will not be able to do so if the



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   Special Master entered a deposition protocol order in some cases but not others. Plaintiffs would

   only be able to examine the witness about his or her participation in collusion in cases in which

   the Master had entered a deposition protocol order. This example is true of each Defendant

   involved in multiple cases. For instance, Denso is named in 20 cases; Mitsuba, 10 cases; Mitsubishi

   Electric, eight cases; and so on. Plaintiffs have added the following language in italics to the

   Uniform Deposition Protocol Order to render more efficient depositions of defendants in multiple

   cases:

            Plaintiffs collectively may take up to fifteen (15) depositions of each
            Defendant Group in each Auto Parts Case. If a Defendant Group is (a)
            named in more than one Auto Parts Case and (b) represents in writing that
            two or more Auto Parts Cases in which the Defendant Group is named
            arises out of the same conspiracy, Plaintiffs collectively may take up to ten
            (10) depositions of that Defendant Group in each of the Auto Parts Cases
            that arises out of the same conspiracy instead of fifteen (15) depositions in
            each of the Auto Parts Cases. For example, Plaintiffs collectively may take
            twenty (20) depositions of a certain Defendant Group named in both the
            Switches and Steering Angle Sensors Cases if that Defendant Group
            represents in writing that these two cases arise out of the same conspiracy.
            Plaintiffs will pay for the witnesses’ reasonable travel expenses as provided
            in Paragraph IV.C.

   See Ex. A and B, Section III.A.I.

      A Uniform Deposition Protocol Order in all other cases would avoid extraordinary and

   unnecessary costs. Defendants may insist that Plaintiffs depose their present employees where they

   reside, and many of these employees reside in Japan. Conducting depositions in Japan is difficult

   and expensive because depositions may only take place at the Embassy of the United States in

   Tokyo or the United States Consulate General in Osaka-Kobe and are governed by esoteric

   procedures under Japanese law. It would be needlessly wasteful and expensive to compel Plaintiffs

   to undergo this process time and again, returning to Japan to depose a Tokai Rika witness, for

   example, in Occupant Safety Systems who was previously deposed in Wire Harnesses and Heater



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   Control Panels and may subsequently be deposed in Switches. Thirty separate deposition protocols

   would be unnecessary and unwieldy given the overlap in issues and parties.

   III.   CONCLUSION

          The cases in In re Automotive Parts Antitrust Litigation have been coordinated and

   consolidated for pretrial proceedings because they all involve automotive parts suppliers’ collusion

   regarding the price of automotive parts sold to vehicle manufacturers in the United States. A

   Uniform Deposition Protocol Order in all cases would be most consistent with Rule 1 and 28

   U.S.C. § 1407. Plaintiffs respectfully request the Special Master to enter the Uniform Deposition

   Protocol Order that would govern all cases and cases to be filed in the In re Automotive Parts

   Antitrust Litigation.



   Date: July 7, 2015                            Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

          I hereby certify that on July 7, 2015, I caused the foregoing PLAINTIFFS’ NOTICE OF

   MOTION AND MOTION FOR UNIFORM DEPOSITION PROTOCOL ORDER to be

   electronically filed with the Clerk of the Court using the CM/ECF system, which will send

   notification of such filing to all counsel of record.

                                                  /s/ E. Powell Miller
                                                  E. Powell Miller




                                                     19
